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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


     UNITED STATES OF AMERICA                       :        CRIM. NO. 12-131(SRC)
                    V.


    MICHELLE MASSARO                                :                ORDER
            This matter having been opened to the Court upon application
                                                                               of Richard I.
    Verde, attorney for Defendant, Michelle Massaro, and Paul J. Fishm
                                                                      an, United States
    Attorney for the District of New Jersey (Randall Cook, Assista
                                                                   nt    U.S. Attorney
    appearing) for an Order to allow the release of the lien pursua
                                                                     nt to the Appearance Bond
    on the real property (home) of the Co-Signer Rene Massaro from
                                                                         the time period of
    March 30, 2012 to April 13, 2012 in order for Rene Massaro
                                                                     to refinance her real
    property (home) and Pre-Trial Services (by Officer Mertice Evans)
                                                                           and Randall Cook,
    Assistant U.S. Attorney consenting to said release of lien for
                                                                     said time period and for
   good cause shown;

           It is onthas                 dayof                                ,20l2




                                                I
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           ORDERED that the lien pursuant to the ‘\pp arance Bond on
                                                                           the real property
    (home) of Rene Massaro is released for the time period of March
                                                                      30   01 to April 1’
    2012 in oider for said Rene lassaro to refinance her real proper
                                                                     t (home) and it is
    further ORDERED that all other onditions of bail shall he mainta
                                                                     ined




                                                \BLESTANLEYR.CHESLER
                                                UNITED STATES DISTRICT JUDGE




    ASSISTANT US.       TTORNEY




   RICHARD J. VERDE, PSQ,
   DEFENSE COUNSEL
